981 F.2d 1253
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James Thomas WITHROW, Plaintiff-Appellant,v.Lawrence Douglas WILDER, Governor;  Mary Sue Terry, AttorneyGeneral;  Edward W. Murray, Director;  G. E. Deans, Warden;Doctor Hale, Chief Physician;  Wade D. Blankenship, Warden;W. P. Ellison, Major, Chief of Security;  Walter Walker,Director, Chief of Security;  Major Karricker, Chief ofSecurity, Defendants-Appellees.
    No. 92-7057.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  November 30, 1992Decided:  December 29, 1992
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  James C. Turk, Chief District Judge.  (CA-91-470-R)
      James Thomas Withrow, Appellant Pro Se.
      Mark Ralph Davis, Office of the Attorney General of Virginia, Richmond, Virginia;  Leigh Thompson Hanes, Wooten &amp; Hart, P.C., Roanoke, Virginia, for Appellees.
      W.D.Va.
      AFFIRMED.
      Before WILKINS and NIEMEYER, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      James T. Withrow appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Withrow v. Wilder, No. CA-91-470-R (W.D. Va.  Sept. 15, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    